          Case 18-54894-jrs                   Doc 21 Filed 03/26/18 Entered 03/26/18 07:49:03                                        Desc Ch 11
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 Information to identify the case:
 Debtor
                Duluth Travel, Inc.                                                            EIN 58−2077307
                Name


 United States Bankruptcy Court Northern District of Georgia                                   Date case filed for chapter 11 3/22/18
 Court website: www.ganb.uscourts.gov
 Case number: 18−54894−jrs

Official Form 309F (For Corporations or Partnerships)

Notice of Chapter 11 Bankruptcy Case                                                                                                                        12/17

For the debtor listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has been
entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about the
meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts from
the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue, assert a deficiency, repossess property, or otherwise try to
collect from the debtor. Creditors cannot demand repayment from the debtor by mail, phone, or otherwise. Creditors who violate the stay can be required to
pay actual and punitive damages and attorney's fees.
Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted from discharge may be required to
file a complaint in the bankruptcy clerk's office within the deadline specified in this notice. (See line 11 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov). Copy fees or access charges may apply. A free automated response system
is available at 866−222−8029 (Georgia Northern). You must have case number, debtor name, or SSN when calling.

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.



  1. Debtor's full name                        Duluth Travel, Inc.


  2. All other names used in the
     last 8 years


                                               2860 Peachtree Industrial Boulevard
  3. Address                                   Suite 1000
                                               Duluth, GA 30097

                                               Anna Mari Humnicky                                            Contact phone 770−858−1288
                                               Cohen Pollock Merlin & Small, PC
  4. Debtor's attorney                         Suite 1600
      Name and address                         3350 Riverwood Parkway                                        Email: NO EMAIL ADDRESS FOUND
                                               Atlanta, GA 30339


  5. Bankruptcy clerk's office                 M. Regina Thomas                                             Office Hours: 8:00 a.m. − 4:00 p.m.
      Documents in this case may be filed      Clerk of Court
      at this address.
      You may inspect all records filed in     1340 United States Courthouse                                Court website: www.ganb.uscourts.gov
      this case at this office or online at
      www.pacer.gov.                           75 Ted Turner Drive SW
                                               Atlanta, GA 30303                                            Contact phone 404−215−1000


  6. Meeting of creditors
      The debtor's representative must                                                                       Location:
      attend the meeting to be questioned      May 1, 2018 at 01:00 PM
      under oath.                                                                                            Third Floor − Room 362, Russell
      Creditors may attend, but are not        The meeting may be continued or adjourned to a later date.
      required to do so. Cellular phones       If so, the date will be on the court docket.
                                                                                                             Federal Building, 75 Ted Turner Drive
      and other devices with cameras are                                                                     SW, Atlanta, GA 30303
      not allowed in the building.

                                                                                                                For more information, see page 2 >

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Debtor Duluth Travel, Inc.                                                                                                         Case number 18−54894−jrs


  7. Proof of claim deadline                  Deadline for filing proof of claim: Not yet set. If a deadline is set, the court will send you
                                              another notice.

                                              A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                              www.uscourts.gov or any bankruptcy clerk's office.

                                              Your claim will be allowed in the amount scheduled unless:

                                                        • your claim is designated as disputed, contingent, or unliquidated;
                                                        • you file a proof of claim in a different amount; or
                                                        • you receive another notice.
                                              If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you must
                                              file a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan. You may
                                              file a proof of claim even if your claim is scheduled.

                                              You may review the schedules at the bankruptcy clerk's office or online at www.pacer.gov.

                                              Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                              claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                              For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                              including the right to a jury trial.


  8. Exception to discharge                   If § 523(c) applies to your claim and you seek to have it excepted from discharge, you must start a judicial
     deadline                                 proceeding by filing a complaint by the deadline stated below.
      The bankruptcy clerk's office must
      receive a complaint and any required
      filing fee by the following deadline.   Deadline for filing the complaint:


                                              If you are a creditor receiving notice mailed to a foreign address, you may file a motion asking the court to
  9. Creditors
     address
               with a foreign                 extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                              any questions about your rights in this case.


                                              Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the court
                                              confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan, and you
  10. Filing a Chapter 11
      bankruptcy case
                                              may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation hearing,
                                              and you may object to confirmation of the plan and attend the confirmation hearing. Unless a trustee is serving,
                                              the debtor will remain in possession of the property and may continue to operate its business.


                                              Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of your debt.
                                              See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from the debtor
  11. Discharge of debts                      except as provided in the plan. If you want to have a particular debt owed to you excepted from the discharge
                                              and § 523(c) applies to your claim, you must start a judicial proceeding by filing a complaint and paying the
                                              filing fee in the bankruptcy clerk's office by the deadline.




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